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  2022R00567/ALW/ML



                                                                                  AT
                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                                                                        Jun 14, 2023

   UNITED STATES OF AMERICA            :                                           FTL

                                       :
                v.                     :      Hon. Leda Dunn Wettre, USMJ
                                       :
   REYNALDO ESTRELLA a/k/a             :      23-mj-13119
   “Rey”, and                          :
   ELVIS ADRIAN                        :      CRIMINAL COMPLAINT
                                           OUR CASE NO: 23-6267-MJ-PAB

        I, Emily Novosedlik, being duly sworn, state the following is true and
  correct to the best of my knowledge and belief:

                              SEE ATTACHMENT A
        I further state that I am a Special Agent with the Department of
  Homeland Security, Homeland Security Investigations, and that this complaint
  is based on the following facts:

                              SEE ATTACHMENT B
  continued on the attached pages and made a part hereof.


                                       ________________________________________
                                       Emily Novosedlik, Special Agent
                                       Department of Homeland Security,
                                       Homeland Security Investigations

  Special Agent Novosedlik attested to this Affidavit by telephone pursuant to
  F.R.C.P. 4.1(B)(2)(A) on this 13th day of June, 2023.


                                       /S/ Hon. Leda Dunn Wettre
                                       ________________________________________
                                       Hon. Leda Dunn Wettre
                                       United States Magistrate Judge
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                                  ATTACHMENT A

                                     Counts One
   (Conspiracy to Traffic in Vehicles With Altered Vehicle Identification Numbers)

        From at least on or about September 30, 2020 until on or about March
  2023, in Bergen County, in the District of New Jersey, and elsewhere,
  defendants

                            REYNALDO ESTRELLA, and
                                ELVIS ADRIAN

  did knowingly and intentionally conspire and agree with each other and others
  to commit offenses against the United States, that is, to buy, receive, possess
  and obtain control of motor vehicles, with the intent to sell or otherwise dispose
  of said motor vehicles, knowing that the vehicle identification number (“VIN”) of
  said motor vehicles had been unlawfully removed, obliterated, tampered with,
  or altered, contrary to Title 18, United States Code, Section 2321.

         In violation of Title 18, United States Code, Section 371.
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                                     Count Two
                              (Distribution of Cocaine)

        On or about April 13, 2023, in Bergen County, in the District of New
  Jersey, and elsewhere, defendant

                              REYNALDO ESTRELLA

  did knowingly and intentionally distribute 500 grams or more of a mixture or
  substance containing a detectable amount of cocaine, a Schedule II controlled
  substance.

         In violation of Title 21, United States Code, Sections 841(a)(1) and
  (b)(1)(B).
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                                 ATTACHMENT B

         I, Emily Novosedlik, am a Special Agent with the United States
  Department of Homeland Security – Homeland Security Investigations. I am
  fully familiar with the facts set forth herein based on my own investigation, my
  conversations with other law enforcement officers, and my review of reports,
  documents, and other items of evidence. Because this Complaint is being
  submitted for a limited purpose, I have not set forth each and every fact that I
  know concerning this investigation. Where statements of others are related
  herein, they are related in substance and part. Where I assert that an event
  took place on a particular date, I am asserting that it took place on or about
  the date alleged.

        1.     Since in or around September 2020, law enforcement has been
  investigating a vehicle theft ring that operates in and around New Jersey, New
  York, Florida and elsewhere (the “VTR”). As set forth in more detail below,
  REYNALDO ESTRELLA a/k/a “Rey” (“ESTRELLA”) and ELVIS ADRIAN
  (“ADRIAN”) are members of the VTR who conspired to receive—and received—
  stolen vehicles, alter or “retag” the vehicles’ Vehicle Identification Numbers
  (“VINs”), and traffic the retagged vehicles. 1

        2.    Specifically, based on the investigation, law enforcement
  determined that the VTR utilized a garage operated by ADRIAN in Bronx, New
  York (the “Garage”) 2 to retag vehicles. The retagged vehicles, and equipment or
  materials used to retag vehicles, were stored at ESTRELLA's apartments in the
  Bronx, New York (the “Bronx Residence”) and Elmwood Park, New Jersey (the
  “Elmwood Park Residence”) prior to being sold.

        3.   In or around September 2020, law enforcement began investigating
  the VTR. Specifically, on or about September 30, 2020, law enforcement

  1 The VIN for most vehicles is either etched or otherwise attached to vehicles in
  several places that are readily visible to the public and/or law enforcement,
  including the windshield, dashboard, and door jambs. Most vehicles have the
  confidential, or “true,” VIN attached to the vehicle in another location or
  locations that are known only to the manufacturer in order to prevent
  criminals from completely removing or changing all of the VIN tags attached to
  a particular vehicle. The term “retagging” is used to refer to the practice of
  altering a vehicle’s VIN to obscure its true identity from law enforcement,
  especially in the case of stolen vehicles.
  2The “Garage” refers to the building structure making up the garage and the
  paved lot between the garage and the street.
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  observed a 2020 Toyota Tacoma with a VIN ending in 6311 (the “6311
  Tacoma”) parked on the street in the Bronx, New York. The 6311 Tacoma was
  previously reported stolen from a car dealership in Eatontown, New Jersey.

       4.   On or about October 5, 2020, law enforcement lawfully tracked the
  6311 Tacoma to the Garage.

        5.   On or about October 7, 2020, the 6311 Tacoma was tracked to the
  Elmwood Park Residence. There, law enforcement observed that its VIN had
  been changed to a number ending in 6390.

        6.    Between on or about October 7, 2020, and on or about October 23,
  2020, law enforcement lawfully tracked the 6311 Tacoma which traveled to
  Ontario, California.

        7.    On or about October 23, 2020, in Ontario, California, law
  enforcement conducted a lawful stop of a vehicle carrier carrying the 6311
  Tacoma. During the stop, law enforcement was provided with documentation
  concerning the 6311 Tacoma which listed “Rey” as the customer and the phone
  number associated with ESTRELLA as the customer’s contact number.

        8.     In or around November 2020, law enforcement began conducting
  surveillance of the Garage. Based on physical surveillance and law
  enforcement’s review of pole camera footage from the area of the Garage, law
  enforcement determined that the Garage is used by ESTRELLA and ADRIAN to
  “retag” stolen vehicles.

        9.     For instance, since in or around November 2020, law enforcement
  has observed numerous vehicles with no visible damage enter the Garage and
  ESTRELLA, ADRIAN and others remove and re-install the windshields of those
  vehicles in addition to other work near the dashboard and driver’s door jamb. 3

        10. For example, as described in more detail below, law enforcement
  observed the following vehicles enter the Garage and later learned that the
  public VIN had been altered:

           a. On or about February 10, 2021, a 2019 Toyota RAV4 with a true
              VIN with the last four digits 1344 assigned to that vehicle entered

  3 Based on the investigation, law enforcement determined that a door jamb is
  the area where the door connects to the body of the vehicle and often where the
  VIN is located. Additionally, for most vehicles a VIN is either etched or
  otherwise attached to vehicles in several places that are readily visible to the
  public and/or law enforcement, including the windshield, dashboard, and door
  jambs.
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             the Garage and was later observed retagged with the VIN with the
             last four digits 6753;

          b. On or about March 29, 2022, a 2021 Honda Pilot with a true VIN
             with the last four digits 8243 assigned to that vehicle entered the
             Garage and was later observed retagged with the VIN with the last
             four digits 3210;

          c. On or about April 6, 2022, a 2022 Honda Odyssey with an elite
             trim package and a true VIN with the last four digits 3333 assigned
             to that vehicle entered the Garage and was later observed retagged
             with the VIN with the last four digits 8249;

          d. On or about July 30, 2022, a 2022 Honda CR-V with a true VIN
             with the last four digits 3580 assigned to that vehicle entered the
             Garage and was later observed retagged with the VIN with the last
             four digits 0484; and

          e. On or about March 20, 2023, a 2022 Honda MDX with a true VIN
             with the last four digits 3659 assigned to that vehicle entered the
             Garage and was later observed retagged with the VIN with the last
             four digits 1628.

                        Vehicles Retagged at the Garage
  The Stolen RAV4

       11. In or around September 2020, a 2019 grey Toyota RAV4 with a VIN
  ending in 1344 (the “Stolen RAV4”) was stolen in New Rochelle, New York.

        12. On or about September 24, 2020, law enforcement observed the
  Stolen RAV4 with the 1344 VIN in the Bronx, New York.

        13. On or about October 7, 2020, Estrella’s Business bought a grey
  RAV4 with a VIN ending in 6753 (the “Salvage RAV4”) from a salvage auction
  that matched the Stolen RAV 4.

         14. On or about February 10, 2021, pole camera footage from the area
  of the Garage showed a RAV4 matching the description of the Stolen RAV4
  enter the Garage.

        15. On or about April 27, 2021, a RAV4 was recovered at a port in
  Staten Island, New York, scheduled to be shipped to the Dominican Republic.

        16. Based on law enforcement’s review of that RAV4, law enforcement
  observed that the vehicle had been retagged with the Salvage RAV4’s VIN
  ending in 6753 and purchased by Estrella’s Business. Based on a review of the
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  engine’s serial number, the true VIN was the 1344 VIN belonging to the Stolen
  RAV4.

  The Stolen Red Honda Pilot

        17. On or about March 28, 2022, a red Honda Pilot with a VIN ending
  in 8243 (the “8243 Pilot”) was stolen from the Bronx, New York.

         18. On March 29, 2022, pole camera footage captured a red Honda
  Pilot matching the description of the 8243 Pilot, bearing an Illinois registration
  number ending in 3814 (the “Red Honda Pilot with the IL Plate”) and a black
  Ford Escape (the “Ford Escape”) enter the Garage.

        19. Based on a review of the Ford Escape’s license plate, law
  enforcement determined that the Ford Escape was a rental car rented to
  ESTRELLA.

        20. Shortly after the Red Honda Pilot entered the Garage, pole camera
  footage showed the red Honda Pilot with the IL Plate exit the garage.

        21. On or about April 20, 2022, the Red Honda Pilot with the IL Plate
  was involved in a car accident in Queens, New York where the driver
  abandoned the vehicle before fleeing the scene.

        22. Law enforcement inspected the Red Honda Pilot with the IL Plate
  and observed that the public VIN that would normally be visible through the
  windshield was missing and that there was visible damage to the area to which
  it should have been affixed.

        23. Additionally, law enforcement observed a sticker in the doorjamb of
  the driver’s door was not properly affixed to the doorjamb and was easily
  removed. This sticker bore the VIN ending in 3210. The cover designed to
  obscure the confidential VIN located on the front passenger side floorboard was
  glued shut. Law enforcement removed the cover revealing a confidential VIN
  ending in 8243, which belonged to the stolen 8243 Pilot.

  The Stolen 2022 Honda Odyssey

          24. On or about April 1, 2022, a white 2022 Honda Odyssey with an
  elite trim package and a VIN ending 3333 was stolen from a Honda dealership
  in Morris County, New Jersey (the “Stolen Odyssey”).

       25. On or about April 6, 2022, pole camera footage from the area of the
  Garage showed a white Honda Odyssey with an elite trim package (the
  “Odyssey”) and a black Toyota Rav4 (the “Rav4”) enter the Garage and
  ESTRELLA exit the Odyssey and ADRIAN the Rav4.
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       26. The pole camera footage also showed ESTRELLA and ADRIAN for
  approximately 20 minutes, walk between the Garage and the front end of the
  Odyssey, carrying tools and working in the area of the driver’s door.

       27. Approximately one hour later, pole camera footage showed
  ESTRELLA and ADRIAN re-enter the Odyssey and the Rav4 and exit the
  Garage.

       28. On or about June 14, 2022, law enforcement observed a white
  Honda Odyssey with an elite trim package, bearing a New York license plate
  ending in 6544 and a public VIN ending in 7517, parked in the vicinity of the
  Elmwood Park Residence (the “7517 Odyssey”).

        29. Additionally, on or about June 17, 2022, law enforcement observed
  the 7517 Odyssey parked in the vicinity of the Elmwood Park Residence.

        30. On or about December 13, 2022, law enforcement conducted a
  lawful motor vehicle stop on the 7517 Odyssey driven by ESTRELLA. During
  that stop, law enforcement observed etched into the floorboard a true VIN
  ending in 3333, which belonged to the Stolen Odyssey.

  The Stolen Grey Honda CR-V

       31. On or about June 18, 2022, a 2022 grey Honda CR-V with the VIN
  ending in 3580, was stolen from Queens, New York (the “Stolen CR-V”).

        32. On or about July 30, 2022, pole camera footage from the area of
  the Garage showed a 2022 grey Honda CR-V (the “Honda CR-V”) arrive at the
  Garage, bearing Florida license plate ending in 905X, which law enforcement
  observed on prior occasions affixed to other vehicles controlled by ESTRELLA.

        33. Shortly after, pole camera footage showed ESTRELLA walk up to
  the garage, return to the Honda CR-V, and drive the Honda CR-V closer to the
  garage.

        34. For the next several hours, pole camera footage showed ESTRELLA
  and ADRIAN walking back and forth between the Garage and the Honda CR-V.
  Pole camera footage also showed ADRIAN carrying a caulking gun, which,
  based on law enforcement’s training and experience, is used to re-seal a
  windshield after it has been removed to alter a VIN.

      35. Approximately five hours later, pole camera footage showed
  ESTRELLA enter the Honda CR-V and drive away from the Garage.
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        36. Approximately two days later, on or about August 2, 2022, law
  enforcement observed the Honda CR-V parked near the Elmwood Park
  Residence.

         37. On or around the same date, law enforcement visually inspected
  the Honda CR-V’s public VIN, which is affixed to the vehicle’s dashboard and
  visible through the front windshield.

          38. Based on law enforcement’s review, the Honda CR-V’s public VIN
  ended in 0484. A check of that public VIN revealed that it is not within the
  range of VINs assigned by Honda to CR-Vs and is not connected to any
  shipping record from the manufacturer to a dealer, indicating that the VIN is
  fictitious and that no vehicle with this VIN was ever manufactured by Honda.

         39. On or about August 12, 2022, law enforcement lawfully seized the
  Honda CR-V. Based on law enforcement’s review of the Honda CR-V, law
  enforcement determined that the vehicle’s true VIN ended in 3580 and was, in
  fact, the Stolen CR-V.

  The 2022 White Acura MDX

         40. On or about March 20, 2023, pole camera footage from the area of
  the Garage showed ESTRELLA, ADRIAN, and a third individual (“Individual-1)
  at the Garage working in and around a white 2022 Acura MDX (the “White
  Acura”).

        41. Specifically, pole camera footage showed ESTRELLA, ADRIAN, and
  Individual-1 remove the vehicle's windshield, work with a drill near the
  passenger side door, and enter the White Acura with an onboard diagnostics
  computer (“OBD"). 4 Based on law enforcement’s training and experience, this
  type of work and use of a OBD computer is consistent with retagging a vehicle.

         42. On or about the same date, at approximately 7:23 p.m., pole
  camera footage showed ESTRELLA closing the White Acura’s rear hatch, which
  allowed law enforcement to observe that the White Acura bore a Connecticut
  registration ending in 7957 (the “CT Plate”).




  4 An OBD is a handheld device that communicates with the computer system
  installed on a modern vehicle. The OBD can, for example, read fault codes
  provided by vehicle sensors to assist in inspecting and repairing vehicles. An
  OBD can also be used to alter information stored on a vehicle’s computer,
  including the VIN.
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        43. Based on a query on a law enforcement database, law enforcement
  determined that the CT Plate was associated with a white 2022 Acura MDX
  with the VIN ending in 3659.

         44. At approximately 7:32 p.m., pole camera footage from the area of
  the Garage showed ESTRELLA enter the White Acura and drive out to the
  street.

       45. Approximately twenty minutes later, at or around 7:51 p.m., both
  the White Acura and another vehicle known to law enforcement to be utilized
  by ESTRELLA, were recorded by a license plate reader on Grand Central
  Parkway driving eastbound near 82nd Street, in Queens, New York.

        46. On March 22, 2023, during physical surveillance in the area of
  97th Street in Queens, New York, law enforcement observed the White Acura
  bearing the CT Plate, parked on the street.

        47. Upon further examination of the White Acura bearing the CT Plate,
  law enforcement observed the public VIN which ended in 1628 and observed
  two strips of tape connecting the top windshield to the roof of the car. Based on
  the investigation and law enforcement’s training and experience, when a
  windshield is removed and replaced—including when a windshield is removed
  to gain access to a public VIN—the windshield is taped in this manner to allow
  the sealant around the windshield to dry properly.

        48. Based on a search on a law enforcement database for the VIN
  ending in 1628, law enforcement determined there is no record of a vehicle
  with the VIN ending in 1628.

        49. On or about April 12, 2023, pursuant to a lawful interception of
  ESTRELLA’s phone calls, law enforcement intercepted the following
  conversations between ESTRELLA and ADRIAN discussing a white Acura: 5


                    Estrella:                Well, I [STAMMERS]
                                             already sent the money
                                             right now to the woman.

  5 On or about April 10, 2023, the Honorable Julian X. Neals, United States
  District Judge, authorized the interception of wire communications over two
  telephones belonging to ESTRELLA. See Misc. Nos. 23-90 and 23-90. On or
  about May 15 and 18, 2023, the Honorable Kevin McNulty, United States
  District Judge, authorized the interception of wire communications over two
  additional telephones belonging to ESTRELLA. See Misc. Nos. 23-98 and 23-
  99.
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                                            To the woman, for the
                                            license plate thing. It
                                            went up a hundred
                                            (100) bucks.
                                            [CHUCKLES] Fifteen
                                            hundred (1500), dude.”
                    Adrian:                 Damn. We are fire.

                    Estrella:               And listen, listen,
                                            [STAMMERS]
                                            Supposedly, she is
                                            waiting for everybody to
                                            send the money. I told
                                            her, “If by Friday they
                                            don’t send it, I’ll send
                                            you two hundred (200)
                                            bucks, so you could
                                            send me those ahead.”
                    Adrian:                 For sure.

                    Estrella:               So we are—you want to
                                            put it on the white
                                            Acura?

                    Adrian:                 As you like. You are the
                                            one who knows.

                 Maintaining Control of the Retagged Vehicles

        50. Additionally, based on the investigation, law enforcement
  determined that members of the VTR maintain control of the retagged stolen
  vehicles by transporting the vehicles throughout New Jersey, New York and
  elsewhere.

  The White Chevrolet Silverado

       51. For instance, on or about September 21, 2021, ESTRELLA bought
  a White Chevrolet Silverado with a VIN ending in 2551 at a salvage auction.

       52. October 21, 2021, a white Chevrolet Silverado with a VIN ending in
  0710 was stolen from Miami, Florida (the “Stolen Miami Silverado”).

         53. On or about April 4, 2022, a license plate reader recorded a white
  Chevrolet Silverado with a New York license plate (the “New York License
  Plate”) registered to Estrella’s Business, which law enforcement observed on
  prior occasions affixed to other vehicles controlled by ESTRELLA, cross the
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  George Washington Bridge and into New York. At the same time, lawfully
  collected location data showed ESTRELLA in or about the same area.

        54. On or about April 20, 2022, law enforcement observed ESTRELLA
  enter a white Chevrolet Silverado bearing the New York License Plate which
  was parked near the Elmwood Park Residence and drive to a parking lot before
  entering a business.

        55. During that time, law enforcement visually inspected the white
  Chevrolet Silverado bearing the New York License Plate and observed in the
  dashboard area that the public VIN ended in 2551. Law enforcement also
  observed a confidential VIN ending in 0710 on the vehicle’s side frame rail,
  which belongs to the Stolen Miami Silverado.

         56. Further, on or about May 26, 2022, based on lawfully collected
  location data, license plate readers, and pole camera footage, ESTRELLA drove
  the Stolen Miami Silverado from Fort Lee, New Jersey to the Garage.

  The Blue Dodge Charger

        57. As another example, on or about November 12, 2020, a blue 2020
  Dodge Charger with VIN ending in 1112 was parked near the Elmwood Park
  Residence with a Virginia license plate that was registered to a different vehicle.

        58. A blue Dodge Charger with the same VIN ending in 1112 was
  reported stolen in Shrewsbury, New Jersey on August 25, 2020.

        59. On or about July 1, 2021, a pole camera recorded a blue Dodge
  Charger (the “Charger”) entering the Garage and recorded ESTRELLA exiting
  the Charger and leaving the Garage on foot.

         60. On or about July 9, 2021, a pole camera recorded two unidentified
  males removing the front windshield of the Charger and working around the
  front driver’s-side door and dashboard area of the car, while ADRIAN stood
  outside the front driver’s-side door.

        61. After approximately 15 minutes, the two unidentified males
  reinstalled the front windshield on the Charger.

        62. On or about August 25, 2021, a license plate reader recorded a
  blue Dodge Charger driving southbound on the George Washington Bridge
  bearing a license plate registered to Estrella’s Business.

        63. On or about January 11, 2022, a blue Dodge Charger, with a
  public VIN ending 3532 was found near the Elmwood Park Residence, in
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  ESTRELLA’s reserved parking space, bearing a license plate assigned to a
  different vehicle registered to Estrella’s business.

        64. The VIN ending 3532 was originally assigned to a vehicle that had
  been severely damaged and purchased at auction by Estrella’s business. Unlike
  other vehicles described above, law enforcement has not been able to lawfully
  search the blue Dodge Charger to confirm that it bears the confidential VIN
  ending 1112.
                   Controlled Purchases of Retagged Vehicles

        65. Moreover, during the investigation law enforcement determined
  that the VTR sold retagged vehicles.

        66. For instance, from in or around February 2022, until on or about
  January 19, 2023, a confidential source (the “CS”) at the direction of law
  enforcement, purchased approximately three retagged vehicles from
  ESTRELLA.

        67. Prior to purchasing retagged vehicles, on or about May 24, 2021,
  the CS at the direction of law enforcement, met with ESTRELLA at the Bronx
  Location.

          68. Based on information law enforcement received from the CS, law
  enforcement determined that at the Bronx Location ESTRELLA stored vehicle
  titles, VIN plates, and federal safety inspection stickers printed on 8.5” x 11”
  sheets of paper, as well as equipment designed to manufacture and/or alter
  such documents.

       69. Thereafter, the CS purchased the following retagged vehicles from
  ESTRELLA: (1) a Honda CR-V, (2) a stolen 2021 Honda Civic, and (3) a stolen
  2021 Honda Accord.

  The Honda CR-V

        70. For instance, in or around February 2022, the CS, at the direction
  of law enforcement, arranged to purchase from ESTRELLA a Honda CR-V,
  bearing the public VIN ending in 1567 (the “1567 CR-V”).

        71. In or around February 2022, the CS engaged in approximately 20
  recorded telephone conversations with ESTRELLA regarding the purchase of
  the 1567 CR-V.

        72. Based on further investigation concerning the 1567 CR-V, law
  enforcement determined that the VIN ending in 1567 belonged to a similar
  vehicle that ESTRELLA’s junk and salvage business, Bree Whole Sales
  (“Estrella’s Business”), had purchased and which was exported to the
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  Dominican Republic (the “Exported CR-V”).

       73. On or about February 26, 2022, at approximately 4:58 p.m., pole
  camera footage from the area of the Garage showed a black Honda CR-V (the
  “Honda CR-V”) enter the lot outside of the Garage.

        74. There, pole camera footage shows two individuals work on the
  vehicle in the area of the front windshield and dashboard, and the front
  passenger seat. Based on the physical appearance of one of the individuals and
  the car that individual was operating when entering the Garage area, law
  enforcement determined that the individual was ADRIAN. Law enforcement was
  unable to identify the second individual. Based on lawfully collected location
  data, ESTRELLA was in the area of the Garage at this time.

       75. On the same date, at approximately 6:02 p.m., the Honda CR-V
  was driven away from Adrian’s Garage.

        76. Based information provided by the CS and law enforcement’s
  review of telephone toll records for ESTRELLA’s phone, the CS called
  ESTRELLA at 5:24 p.m. and ESTRELLA called the CS at 6:02 p.m., at
  approximately the same time the Honda CR-V was leaving the Garage.

        77. Additionally, the telephone toll records also indicated that the calls
  were routed through a cell phone tower located at 1175 Nelson Ave, Bronx,
  New York, which is located on the same block as the Garage.

        78. A short time later, at approximately 6:35 p.m., law enforcement
  observed the CS meet with ESTRELLA at an agreed upon meeting location in
  the Bronx, New York.

       79. There, law enforcement observed the CS give Estrella
  approximately $14,000 in cash in exchange for the keys to a Honda CR-V.

        80. Based on a subsequent search of the Honda CR-V, law
  enforcement observed a public VIN ending in 1567. Upon further review of the
  vehicle, law enforcement determined that the area by the driver’s door jamb
  where a VIN is normally located was covered in a material which concealed the
  VIN.

        81. After removing the material from that area, law enforcement
  observed the Honda CR-V’s true VIN which ended in 3022 and belonged to a
  vehicle that ESTRELLA had previously leased.
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  The Stolen 2021 Honda Civic

        82. In or around August 2022, the CS bought a second retagged
  vehicle from ESTRELLA. This vehicle contained an engine that was associated
  with a stolen vehicle.

         83. Specifically, on or about August 8, 2022, the CS engaged in a
  recorded conversation with ESTRELLA. During this call, ESTRELLA offered to
  sell the CS a stolen 2021 Honda Civic with a public VIN of 0630.

        84. On or about August 15, 2022, law enforcement observed the CS
  meet with ESTRELLA in a parking lot in Paterson, New Jersey. There, the CS
  entered ESTRELLA’s vehicle, and the CS and ESTRELLA drove to the Elmwood
  Park Residence.

         85. While at the Elmwood Park Residence, the CS provided ESTRELLA
  with approximately $14,000 in cash in exchange for the key to a 2021 Honda
  Civic.

       86. Subsequently, law enforcement examined the 2021 Honda Civic
  ESTRELLA sold to the CS and determined that the VIN displayed on the
  dashboard, door panel, and floorboard was the VIN ending 0630.

         87. Law enforcement also determined that the confidential VIN number
  on the floorboard had been defaced and a confidential VIN ending 0630 was
  affixed in its place.

         88. The 2021 Honda Civic’s engine bore the serial number for an
  engine that, based on law enforcement’s review of a database managed by the
  National Insurance Fraud Bureau, had been installed in another 2021 Honda
  Civic, with a VIN ending 1419 that had been reported stolen in Miami, Florida
  on or about July 28, 2022.

  The Stolen 2021 Honda Accord

        89. In or around January 19, 2023, the CS bought a third retagged
  vehicle from ESTRELLA. This vehicle contained an engine associated with a
  stolen vehicle.

         90. From in or around September 2022 until in or around January
  2023, the CS and ESTRELLA discussed ESTRELLA bringing a black Honda
  Accord with a public VIN ending in 7288 (the “7288 Accord”) from Florida to
  sell to the CS in New Jersey.
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        91. On or about January 19, 2023, law enforcement observed
  ESTRELLA pick up the CS from a location in the Bronx, New York, and drive
  the CS to a parking lot.

       92. There, ESTRELLA provided the CS with a folder and keys to the
  7288 Accord in exchange for $14,000 in cash.

        93. Law enforcement subsequently examined the 7288 Accord and
  observed the VIN number ending in 7288 displayed on the front dashboard,
  doorjamb, and floorboard panel.

        94. Additionally, law enforcement observed on the engine of the 7288
  Accord, an engine number of 4013498, which belonged to a 2020 Honda
  Accord with a true VIN ending in 2514, that was reported stolen in Miami,
  Florida on or about September 26, 2022.

        95. As a result of the conspiracy, ESTRELLA and ADRIAN retagged,
  maintained and transported or trafficked motor vehicles with altered VINs on
  vehicles with an estimated value of at least $250,000.

                             Distribution of Cocaine

       96. During the investigation, law enforcement determined that
  ESTRELLA is involved in a drug trafficking organization (“DTO”) operating in
  New Jersey, New York and elsewhere.

        97. For instance, in or around April 2023, a CS engaged in numerous
  conversations with ESTRELLA regarding ESTRELLA providing the CS with
  cocaine for further distribution.

      98. On or about April 13, 2023, ESTRELLA met the CS near the
  Elmwood Park Residence (the “Meeting Location”).

        99. During physical surveillance, law enforcement observed ESTRELLA
  enter the area of the Meeting Location.

        100. Shortly after, law enforcement observed the CS enter ESTRELLA’s
  car and provide ESTRELLA with what appeared to law enforcement to be
  United States currency. Law enforcement then observed ESTRELLA hand the
  CS a bag (the “Bag”) and the CS exit ESTRELLA’s car with the Bag.

        101. Law enforcement subsequently conducted a lawful search of the
  Bag which contained approximately one kilogram of a substance that field
  tested positive for cocaine.
